Case 2:14-cr-00197-RAJ   Document 195   Filed 05/08/15   Page 1 of 6
Case 2:14-cr-00197-RAJ   Document 195   Filed 05/08/15   Page 2 of 6
Case 2:14-cr-00197-RAJ   Document 195   Filed 05/08/15   Page 3 of 6
Case 2:14-cr-00197-RAJ   Document 195   Filed 05/08/15   Page 4 of 6
Case 2:14-cr-00197-RAJ   Document 195   Filed 05/08/15   Page 5 of 6
Case 2:14-cr-00197-RAJ   Document 195   Filed 05/08/15   Page 6 of 6
